              IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF IOWA
                        WESTERN DIVISION

UNITED STATES OF AMERICA,
           Plaintiff,                         No. 11-CR-4013-DEO
vs.                                      ORDER ACCEPTING REPORT
                                            AND RECOMMENDATION
LUIS HERRERA,
                                          CONCERNING GUILTY PLEA
           Defendant.
                        ____________________

                 I.   INTRODUCTION AND BACKGROUND

      On February 16, 2011, a six count Superseding Indictment

(Docket No. 13) was returned in the above-referenced case.

Defendant Luis Herrera was named in Counts 1-6.

      Count 1 of the Superseding Indictment charges that on or

about July 29, 2010, in the Northern District of Iowa, Luis

Herrera and a co-defendant, did knowingly and intentionally

distribute 5 grams or more of actual (pure) methamphetamine,

a Schedule II controlled substance, within 1,000 feet of a

playground, that is, The Boys and Girls Homes, 2101 Court

Street, located in Sioux City, Woodbury County, Iowa.

      This was in violation of Title 21, United States Code,

Sections 841(a)(1), 841(b)(1)(B) and 860.

      Count 2 of the Superseding Indictment charges that on or

about August 17, 2010, in the Northern District of Iowa,



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defendant Luis Herrera and a co-defendant did knowingly and

intentionally distribute a mixture or substance containing a

detectable amount of methamphetamine, a Schedule II controlled

substance, within 1,000 feet of a playground, that is, The

Boys and Girls Homes, 2101 Court Street, located in Sioux

City, Woodbury County, Iowa.

    This was in violation of Title 21, United States Code,

Sections 841(a)(1), 841(b)(1)(C) and 860.

    Count 3 of the Superseding Indictment charges that on or

about August 26, 2010, in the Northern District of Iowa,

defendant   Luis    Herrera     did       knowingly   and        intentionally

distribute 5 grams or more of actual (pure) methamphetamine,

a Schedule II controlled substance, within 1,000 feet of a

school and playground, that is, St. Michael’s School and Leeds

Playground, located in Sioux City, Woodbury County, Iowa.

    This was in violation of Title 21, United States Code,

Sections 841(a)(1), 841(b)(1)(B) and 860.

    Count 4 of the Superseding Indictment charges that on or

about October 20, 2010, in the Northern District of Iowa,

defendant Luis Herrera and a co-defendant did knowingly and

intentionally distribute 5 grams or more of actual (pure)


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methamphetamine, a Schedule II controlled substance, within

1,000 feet of a school and playground, that is, St. Michael’s

School and Leeds Playground, located in Sioux City, Woodbury

County, Iowa.

    This was in violation of Title 21, United States Code,

Sections 841(a)(1), 841(b)(1)(B) and 860.

    Count Five of the Superseding Indictment charges that on

or about February 15, 2011, in the Northern District of Iowa,

defendant Luis Herrera and a co-defendant did knowingly and

intentionally distribute 5 grams or more of actual (pure)

methamphetamine, a Schedule II controlled substance, within

1,000 feet of a school and playground, that is, St. Michael’s

School and Leeds Playground, located in Sioux City, Woodbury

County, Iowa.

    This was in violation of Title 21, United States Code,

Sections 841(a)(1), 841(b)(1)(B) and 860.

    Count Six of the Superseding Indictment charges that from

a date unknown but prior to April 2010, and continuing through

February 2011, in the Northern District of Iowa and elsewhere,

defendant Luis Herrera and two co-defendants, did knowingly

and unlawfully combine, conspire, confederate, and agree with


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each other and others whose identities are both known and

unknown to the Grand Jury, to commit offenses against the

United       States,    to-wit:       knowingly,          intentionally,             and

unlawfully possessing with the intent to distribute 50 grams

or more of actual (pure) methamphetamine, a Schedule II

controlled substance, within 1,000 feet of a school and

playground, that is, The Boys and Girls Home, 2101 Court

Street, St. Michael’s School, and Leeds Playground, located in

Sioux City, Woodbury County, Iowa, in violation of Title 21,

United States Code, Sections 841(a)(1), 841(b)(1)(A) and 860.

       This was in violation of Title 21, United States Code,

Section 846.

       On April 12, 2011, defendant Luis Herrera appeared before

Chief United States Magistrate Judge Paul A. Zoss and entered

a plea of guilty to Counts 1-6 of the Superseding Indictment.

       The     Report     and     Recommendation           (Docket         No.       44,

04/12/2011), states that the Defendant is pleading guilty

pursuant to a plea agreement (Sealed at Docket No. 41-1), and

Chief United States Magistrate Judge Paul A. Zoss recommends

that    defendant       Luis    Herrera’s     guilty      plea        be   accepted.

Waivers       of   objections       to       Judge      Zoss’s         Report        and


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Recommendation were filed by each party (Docket Nos. 45 and

46). The Court, therefore, undertakes the necessary review to

accept defendant Luis Herrera’s plea in this case.

                            II.    ANALYSIS

                      A.   Standard of Review

    Pursuant to statue, this Court’s standard of review for

a magistrate judge’s Report and Recommendation is as follows:


          A judge of the court shall make a de novo
          determination of those portions of the
          report or specified proposed findings or
          recommendations to which objection is made.
          A judge of the court may accept, reject, or
          modify, in whole or in part, the findings
          or recommendations made by the magistrate
          [judge].

28 U.S.C. § 636(b)(1).          Similarly, Federal Rule of Civil

Procedure 72(b) provides for review of a magistrate judge’s

Report and Recommendation on dispositive motions and prisoner

petitions, where objections are made as follows:

          The district judge to whom the case is
          assigned shall make a de novo determination
          upon the record, or after additional
          evidence, of any portion of the magistrate
          judge’s disposition to which specific
          written   objection   has   been   made  in
          accordance with this rule.     The district
          judge may accept, reject, or modify the
          recommendation decision, receive further
          evidence, or recommit the matter to the

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           magistrate judge with instructions.

FED. R. CIV. P. 72(b).

    As mentioned, waivers of objections to the Report and

Recommendation have been filed, and it appears to the Court

upon review of Chief Magistrate Judge Zoss’s findings and

conclusions that there are no grounds to reject or modify

them.

    IT IS THEREFORE HEREBY ORDERED that this Court accepts

Chief    Magistrate    Judge    Zoss’s    Report      and    Recommendation

(Docket No. 44), and accepts defendant Luis Herrera’s plea of

guilty    in   this   case   to    Counts       1-6   of   the    Superseding

Indictment (Docket No. 13).

    IT IS SO ORDERED this 14th day of June, 2011.


                                    __________________________________
                                    Donald E. O’Brien, Senior Judge
                                    United States District Court
                                    Northern District of Iowa




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